Case 1:05-cv-02533-EWN-MJW Document 37 Filed 05/19/06 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-02533-EWN-MJW

  THOMAS MONTOYA,

  Plaintiff,

  v.

  BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO, et al.,

  Defendants.

                                      MINUTE ORDER


  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that the Unopposed Motion for Extension of Time to
  Respond to Plaintiff’s First Set of Written Discovery, which was filed on May 17, 2006,
  is granted. Accordingly, defendants Board of County Commissioners of Park County,
  Scott Glenn and Board of County Commissioners of Chaffee County shall have up to
  and including May 30, 2006, to respond to the plaintiff’s first set of written discovery
  directed at each of them.

  Date: May 18, 2006
